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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Civil Case Number: ________________

                                                     :
 Mackinson Hyppolite,                                :
                                                     :
                         Plaintiff,                  :
 vs.                                                 :
                                                     :
 Credit One Financial d/b/a Credit One Bank,         :
                                                     :
                         Defendant.                  :
                                                     :
                                                     :

                                            COMPLAINT

         For this Complaint, Plaintiff, Mackinson Hyppolite, by undersigned counsel, states as

 follows:

                                           JURISDICTION

         1.      This action arises out of Defendant’s repeated violations of the Telephone

 Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

         2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

  transacts business in this District and a substantial portion of the acts giving rise to this action

  occurred in this District.

                                               PARTIES

         3.      Plaintiff, Mackinson Hyppolite (“Plaintiff”), is an adult individual residing in

  Miami, Florida, and is a “person” as defined by 47 U.S.C. § 153(39).

         4.      Defendant, Credit One Financial d/b/a Credit One Bank (“Credit One”), is a

  Nevada business entity with an address of 625 Pilot Road, Las Vegas, Nevada 89119, and is a

  “person” as defined by 47 U.S.C. § 153(39).
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                                              FACTS

        5.      In September 2015, Credit One began calling Plaintiff’s cellular telephone,

 number 305-xxx-2347, using an automatic telephone dialing system (“ATDS”) and/or using an

 artificial or prerecorded voice.

        6.      When Plaintiff answered calls from Credit One, he heard a prerecorded message.

        7.      Plaintiff has no business relationship with Credit One and never provided consent

 to receive calls from Credit One.

        8.      In addition, in or around October 2015 Plaintiff informed Credit One that that he

 was being called in error and demanded that all calls to him cease immediately.

        9.      Nevertheless, Credit One continued to place automated calls to Plaintiff’s cellular

 telephone number.

                                    COUNT I
                   VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, ET SEQ.

        10.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

 as though fully stated herein.

        11.     At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

 number using an ATDS or predictive dialer and/or using a prerecorded or artificial voice.

        12.     Defendant continued to place automated calls to Plaintiff’s cellular telephone

 number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

 was made in knowing and/or willful violation of the TCPA, and subject to treble damages

 pursuant to 47 U.S.C. § 227(b)(3)(C).

        13.     The telephone number called by Defendant was assigned to a cellular telephone

 service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).




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          14.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

 calls.

          15.   The calls from Defendant to Plaintiff were not placed for “emergency purposes”

 as defined by 47 U.S.C. § 227(b)(1)(A)(i).

          16.   Plaintiff is entitled to an award of $500.00 in statutory damages for each call

 placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

          17.   As a result of each call made in knowing and/or willful violation of the TCPA,

 Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                A. Statutory damages of $500.00 for each violation determined to be negligent

                    pursuant to 47 U.S.C. § 227(b)(3)(B);

                B. Treble damages for each violation determined to be willful and/or knowing

                    pursuant to 47 U.S.C. § 227(b)(3)(C); and

                C. Such other and further relief as may be just and proper.

                       TRIAL BY JURY DEMANDED ON ALL COUNTS

 Dated: October 31, 2016
                                              Respectfully submitted,

                                              By /s/ Stan Michael Maslona
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